      Case 1:23-cr-00430-KPF         Document 186   Filed 07/02/25    Page 1 of 19




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------- x
                                    :
 UNITED STATES OF AMERICA
                                    :
           - v. -
                                    :               S1 23 Cr. 430 (KPF)
 ROMAN STORM,
                                    :
                       Defendant.
                                    :
 ---------------------------------- x




       THE GOVERNMENT’S SECOND SET OF MOTIONS TO EXCLUDE THE
           TESTIMONY OF THE DEFENDANT’S EXPERT WITNESSES




                                                      JAY CLAYTON
                                                      United States Attorney
                                                      Southern District of New York


Ben Arad
Benjamin A. Gianforti
Thane Rehn
Assistant United States Attorneys

Kevin Mosley
Special Assistant United States Attorney
       - Of Counsel -
         Case 1:23-cr-00430-KPF                         Document 186                  Filed 07/02/25               Page 2 of 19




                                                    TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
ARGUMENT .................................................................................................................................. 1
     I. The Court Should Exclude Matthew Green’s Proposed Supplemental Testimony in
        its Entirety ........................................................................................................................... 1
     II. The Court Should Exclude Stephanie Hurder’s Proposed Supplemental Testimony in
         its Entirety ........................................................................................................................... 2
          A.          Hurder’s Proposed Testimony that Demand for TORN Was Driven in Part by
                      the Desire of Users to Participate in Tornado Cash Governance Should Be
                      Excluded ................................................................................................................. 2
          B.          Hurder’s Testimony that the Price of TORN Is Significantly Correlated with
                      the Prices of BTC and ETH Should Be Excluded .................................................. 7
          C.          Hurder’s Proposed Testimony Regarding the Ronin Hack’s Effect on the
                      Price of TORN Should Be Excluded ...................................................................... 8
     III. The Court Should Exclude Michael Carter’s Proposed Testimony in its Entirety. .......... 10
          D.          The Court Should Exclude Carter’s Proposed Legal Opinions ............................ 11
          E.          The Court Should Exclude Carter’s Proposed Testimony that it Was
                      Impossible for the Tornado Cash Service to Implement KYC Procedures and
                      ABM Tools and Processes .................................................................................... 12
     IV. The Court Should Exclude Jeremy Sheridan’s Proposed Supplemental Testimony ........ 14
CONCLUSION ............................................................................................................................. 16




                                                                        2
          Case 1:23-cr-00430-KPF                            Document 186                   Filed 07/02/25                 Page 3 of 19



                                                             Table of Authorities

Cases

24/7 Records, Inc. v. Sony Music Ent., Inc.,
   514 F. Supp. 2d 571 (S.D.N.Y. 2007) ................................................................................................... 6

In re Freddie Mac Sec. Litig.,
    281 F.R.D. 174 (S.D.N.Y. 2012) .................................................................................................... 9, 10

In re Petrobras Sec.,
    862 F.3d 250 (2d Cir. 2017) .................................................................................................................. 9

Nimely v. City of New York,
   414 F.3d 381 (2d Cir. 2005) ............................................................................................................ 4, 10

United States v. Bilzerian,
   926 F.2d 1285 (2d Cir. 1991) .............................................................................................................. 11

Statutes

Fed. R. Evid. 403 .................................................................................................................................. 4, 12

Fed. R. Evid. 702 .................................................................................................................................. 11, 12




                                                                            i
      Case 1:23-cr-00430-KPF          Document 186        Filed 07/02/25      Page 4 of 19




                                       INTRODUCTION

       More than three months after expert disclosure deadlines passed and less than one month

before trial, the defendant on June 18, 2025, filed five new expert disclosures containing more than

40 pages’ worth of proposed testimony. (See Dkt. 176-1–Dkt. 176-5). The defense had not given

the Government or the Court any prior notice that it intended to file lengthy new expert disclosures

in violation of the Court’s scheduling order. (See Dkt. 134). Despite the fact that the defendant

produced these disclosures long after the Court-ordered deadline and had months to prepare them,

they still suffer from an array of deficiencies that warrant preclusion. In many instances, the

disclosures fail to provide information that the Government would need to replicate the proposed

expert analysis, propose inappropriate subjects for expert testimony, or are irrelevant, unfairly

prejudicial, and confusing to the jury and wasteful of its time. Such impermissible expert

testimony, noticed at the last minute and without leave of the Court, should be excluded.

                                          ARGUMENT

I.     The Court Should Exclude Matthew Green’s Proposed Supplemental Testimony in
       its Entirety
       The defendant’s opposition to the Government’s Daubert motion represents that, “because

the government claims it is not clear what [Green’s] opinions are, the defense is providing a

supplemental disclosure (with redline to the prior disclosure).” (Dkt. 176 at 21 (internal citation

omitted)). But the defense did not provide a redline comparing Green’s disclosures, so the

Government generated one. (See Ex. 1). Based on the redline, there appear to be no substantive

differences between Green’s disclosures. Rather, nearly all the differences are slight changes to

typography or phrasing—e.g., correcting “user’s” to “users’” and changing “testify about how” to

“opine the following.” (Ex. 1 at 2). The only quasi-substantive edit appears to be the addition of

“information and documentation regarding venture capital fundraising (including reviewing
        Case 1:23-cr-00430-KPF          Document 186        Filed 07/02/25      Page 5 of 19




Crunchbase)” to the sources of information on which Green intends to rely, although the new

disclosure does not identify what “information and documentation” is referenced. (Ex. 1 at 1).1

These edits plainly do not correct (or even address) the deficiencies pointed out in the

Government’s original Daubert motion. Accordingly, the Government relies on that motion with

respect to Green’s proposed testimony—which, for the reasons the Government previously

provided, should be excluded in its entirety. (See Dkt. 159 at 6-14).

II.      The Court Should Exclude Stephanie Hurder’s Proposed Supplemental Testimony
         in its Entirety
         Stephanie Hurder’s supplemental disclosure proposes that she testify: (1) that “demand for

TORN was in part driven by the desire of users to participate in the Tornado Cash DAO

governance;” (2) that “price movements of TORN are significantly correlated with the movements

in the price of BTC and ETH;” and (3) that “the Ronin Hack is a significant event that is

informative regarding the dynamics of the price of the TORN token,” and “[r]egression analysis

confirms the conclusions from the original Expert Disclosure” with respect to the Ronin Hack’s

effect on the price of TORN. (Dkt. 176-2 at 2-6). Hurder’s proposed amended testimony should

be excluded in its entirely both because it is untimely and for the reasons set forth below.

      A. Hurder’s Proposed Testimony that Demand for TORN Was Driven in Part by the
         Desire of Users to Participate in Tornado Cash Governance Should Be Excluded

         As set forth in Section 1 of Hurder’s supplemental disclosure, Hurder intends to testify that

(a) TORN “derives value from the governance process it is incorporated with . . . [because] the

Tornado Cash DAO had a substantial scope of decision-making authority;” (b) “TORN token

holders were willing to incur substantial capital and opportunity costs in order to participate in


1
  Crunchbase is a company that provides a searchable database of corporate information, so the
disclosure’s reference to “information and documentation regarding venture capital fundraising
(including reviewing Crunchbase)” is roughly equivalent to a legal motion relying on a citation to
“case law and legal documents (including from Westlaw).”


                                                  2
      Case 1:23-cr-00430-KPF          Document 186        Filed 07/02/25        Page 6 of 19




governance voting, indicating the private benefits that voting provided;” and (c) “[t]he malicious

hack of the DAO in May 2023, which temporarily disabled the governance functionality of the

DAO, had a substantial negative impact on the TORN token price, indicating the governance value

of the TORN token.” (Dkt. 176-2 § 1 ¶¶ 3-5). The Court should exclude this testimony because it

is irrelevant, confusing, and largely devoid of analysis—expert or otherwise.

       As an initial matter, and in contrast to Hurder’s first disclosure, Hurder now expressly

concedes that “demand for TORN was in part driven by the desire of users to participate in the

Tornado Cash DAO governance.” (Compare Dkt. 176-2 § 1 ¶ 1 (emphasis added) with Dkt. 159-

3 § 2 ¶ 10b (analogizing to other tokens that are purportedly “used only for participation in their

project’s [sic] DAO,” thus implying that the same is true of TORN) (emphasis added)). But that

concession essentially undermines any relevance to Hurder’s testimony, as none of the

Government’s experts or other evidence have suggested that governance played no role in the

demand for TORN. Rather, as set forth in the Government’s first Daubert motion, even if the value

of TORN may have been driven in part by its utility as a governance token, that says nothing about

whether TORN also was used to monetize the fees charged by the Tornado Cash service. (Dkt.

159 at 19-20).

       Hurder’s supplemental disclosure attempts to address this point by flatly stating the

conclusion that “[u]nderstanding the governance value of the TORN token is essential to

understanding whether the government’s claim of ‘monetization’ is true” and restating her

opinions about the opportunity cost of staking TORN. (Dkt. 176-2 2 § 1 ¶ 6). But Hurder offers no

explanation, much less a reason rooted in any expertise, for why the existence of governance value

is at all inconsistent with the existence of monetization. That suggestion is simply ipse dixit, and

again, undercut by her own recent concession that governance alone cannot explain the demand



                                                 3
      Case 1:23-cr-00430-KPF           Document 186        Filed 07/02/25      Page 7 of 19




for TORN. Hurder might have attempted to establish that TORN’s value as a governance token—

either alone or together with other value drivers—accounted for the entirety of the token’s value,

to the exclusion of fee monetization. But she now acknowledges that is not the case, concluding

only that governance accounted for an unspecified portion of TORN’s value. As such, her

testimony is neither here nor there in addressing evidence that TORN was used to monetize the

Tornado Cash service, and as such would simply be confusing to the jury. Accordingly, this

testimony should be excluded as irrelevant and unduly prejudicial. See Nimely v. City of New York,

414 F.3d 381, 397 (2d Cir. 2005) (Rule 403 has a “uniquely important role . . . in a district court’s

scrutiny of expert testimony, given the unique weight such evidence may have in a jury’s

deliberation”).

       Even if it were relevant (it is not), Hurder’s opinion that TORN purchases were motivated

in part by the Tornado Cash DAO’s “power to make and enforce impactful decisions” is not

supported by any empirical analysis. (Dkt. 176-2 § 1 ¶ 3). Hurder merely recites certain powers of

the Tornado Cash DAO, counts 13 governance votes over an 18-month period that implemented

measures on “numerous topics,” adds up the value of TORN allocated by certain governance

proposals, and notes the value of TORN held by voters in another governance proposal. (Dkt. 176-

2 § 1 ¶ 3a-c). This summary testimony contains no analysis whatsoever and could easily be

delivered by a lay witness. Indeed, Hurder does not even attempt to explain what in her supposed

expertise regarding decentralized organizations leads her to conclude that the Tornado Cash

governance proposals were “substantial [in] scope.” (Dkt. 176-2 § 1 ¶ 3). Substantial in

comparison to what, she does not say.2 Hurder then provides a history of Tornado Cash governance



2
  This further belies the relevance of Hurder’s proposed background testimony, set forth in her
initial disclosure, regarding “decentralized application[s]” and their “distinct tokenomics.” (See


                                                 4
      Case 1:23-cr-00430-KPF          Document 186        Filed 07/02/25      Page 8 of 19




proposals, (see Dkt. 176-2 § 1 ¶ 4), without any apparent connection to any issue in dispute, to

support the conclusion that there was an “opportunity cost” to participating in these proposals.

Again, however, none of this apparently relates to any issue in dispute; it is simply irrelevant and

will serve only to spark jury confusion.

       These mere summaries and observations do not constitute expert analysis, could be

recounted by a lay summary witness, and are irrelevant in any event because they lead, at most, to

the conclusion that there was some value to having voting power for Tornado Cash governance

proposals, which is of dubious relevance to evidence (uncontroverted by Hurder) that the

defendant monetized the Tornado Cash service through structuring a system whereby Tornado

Cash relayer fees were converted into distributions to TORN token holders. The Court should

preclude Hurder from couching this testimony as expert analysis, which would prove nothing, but

which the jury might mistakenly believe is relevant because it comes from a speaker qualified as

an expert.

       The next section of Hurder’s disclosure addresses the May 2023 hack that disabled the

Tornado Cash DAO, but the defense has essentially already conceded that the opinion offered here

is unsupported. (See Dkt. 176-2 § 1 ¶ 5). In the disclosure, Hurder states that the hack “had a

substantial negative impact on the TORN token price.” (Dkt. 176-2 § 1 ¶ 5). But when the

Government requested additional information regarding Hurder’s disclosure, the defense

responded that Hurder “does not conclude that [the relationship between the hack and the price of

TORN] is causal.” (Ex. 2 at 2). That dooms her proffered opinion. Since Hurder cannot say that



Dkt. 159-3 § 1). Hurder’s purported knowledge of those topics cannot be relevant if she is not
going to even attempt to measure the Tornado Cash service against any benchmark or industry
standard (to the extent one even exists). Her background testimony thus merely would serve to
distract the jury, without providing any context relevant to the defendant, the Tornado Cash
service, or the charged conduct.


                                                 5
      Case 1:23-cr-00430-KPF           Document 186        Filed 07/02/25      Page 9 of 19




there was a causal relationship between the May 2023 hack and the price of TORN, she should not

be permitted to testify, as she said in her disclosure, that “the hack had a substantial negative

impact” on the price. (Dkt. 176-2 § 1 ¶ 5). Those statements flatly contradict each other. And even

if this proposed testimony were internally consistent (which it is not), it is based on events of May

2023, more than eight months after the charged time period and after the imposition of sanctions

on Tornado Cash—i.e., at a time when there were different variables logically connected to the

value of TORN. Hurder makes no attempt to address this.

       Moreover, Hurder’s disclosure is insufficient for the Government to recreate her purported

analysis. While Hurder claims to have conducted “regression analysis to control for market

movements,” she does not provide the analysis itself, much less explain how she determined what

variables to include or exclude in her analysis. (Dkt. 176-2 § 1 ¶ 5f). Indeed, the day after the

defendant filed Hurder’s supplemental disclosure, the Government requested the analysis—not

just Hurder’s conclusions—which would have included Hurder’s regression model. The defense’s

response did not provide Hurder’s analysis, instead conceding that Hurder does not conclude there

was any causal relationship between the May 2023 hack and the price of TORN. (See Ex. 2). This

alone is a basis to exclude her testimony. See 24/7 Records, Inc. v. Sony Music Ent., Inc., 514 F.

Supp. 2d 571, 576 (S.D.N.Y. 2007) (precluding a valuation opinion where the expert did not

“explain how he valued [certain] factors nor how he assessed their relative significance”).

Accordingly, as (1) the defense has acknowledged that Hurder cannot testify to any causal

relationship between the May 2023 hack and the value of TORN, (2) the defense has failed to

account for other variables potentially influencing TORN’s value, and (3) the defense has failed

to produce any analysis, the Court should excluded Hurder’s opinion concerning the impact of the

May 2023 hack on the value of TORN.



                                                 6
      Case 1:23-cr-00430-KPF          Document 186        Filed 07/02/25      Page 10 of 19




   B. Hurder’s Testimony that the Price of TORN Is Significantly Correlated with the
      Prices of BTC and ETH Should Be Excluded

       Hurder’s initial disclosure contained the opinion that TORN prices did not reflect expected

gains from Tornado Cash revenues, and she cited the fact that TORN prices were correlated with

other cryptocurrencies in support of that opinion. (Dkt. 159-3 at 7). The Government’s initial

Daubert motion explained that this opinion should be precluded for two reasons: first, the

purported correlation analysis lacked empirical support in part because there was no regression

analysis and second, “even if this type of simple correlation analysis were sufficient to show a

relationship between TORN and ETH and BTC, that would say nothing about whether TORN

prices also correlated with Tornado Cash smart contract activity.” (Dkt. 159 at 18). In her amended

disclosure, Hurder attempts to address the first point with a regression analysis, but provides

nothing to address the second point, which is sufficient to preclude her testimony.

       The only relevance of this entire subject matter is to support the apparent defense argument

that TORN token prices were not related to the monetization of Tornado Cash revenues. But as

the Government has previously explained, Hurder has never actually attempted to compare

Tornado Cash revenues (or a proxy for revenues such as overall Tornado Cash volumes) with

TORN token prices. (See Dkt. 159 at 18). Instead, she merely provides data showing a correlation

between TORN token prices and other cryptocurrencies. But the price correlation between TORN

and other cryptocurrencies is fully consistent with TORN prices having a causal relationship with

Tornado Cash revenues. There is nothing unusual about two variables being correlated with each

other, and for one of those variables to also have a causal relationship with some other factor. To

take a simple example, Hurder’s opinion is the equivalent of an expert saying that a person’s diet

does not have a causal effect on the person’s risk of obesity, and in support of that opinion, citing

data showing that there is a correlation between a family history of obesity and risk of obesity. The


                                                 7
      Case 1:23-cr-00430-KPF          Document 186         Filed 07/02/25      Page 11 of 19




conclusion does not follow from the premise, as it is plainly possible for a person’s diet and a

person’s family history both to have an independent relationship with risk of obesity. In short,

Hurder cannot use the correlation of two variables (TORN prices and other cryptocurrency prices)

to say anything about the relationship between one of those variables (TORN prices) and a third

factor (Tornado Cash revenues or volumes), when she has made no attempt to actually analyze

that relationship. Hurder’s analysis appears to be designed to obscure this point and confuse the

jury, and so it should be excluded.

       Indeed, after Hurder revised her disclosure in an apparent attempt to respond to the

Government’s arguments on this point, the Government asked the defense to produce the analysis

and information underlying Hurder’s supplemental disclosure concerning the relationship between

TORN and other cryptocurrencies. It was only then that the defense conceded that Hurder’s

correlation analysis does not connect to any opinion about what affects TORN prices at all. Rather,

the defense conceded that Hurder’s analyses merely show that the prices of TORN, BTC, and ETH

“have a relationship, without implying causality.” (Ex. 2 at 2 (emphasis added)). But if Hurder

cannot say anything about causality, then her regression analyses of those correlations cannot

possibly bear on whether other variables actually drove TORN price changes—including TORN’s

utility as a vehicle for monetizing the Tornado Cash service—which was the original purported

basis for this testimony. Thus, it can serve no purpose other than to confuse the jury. This testimony

should be excluded.

   C. Hurder’s Proposed Testimony Regarding the Ronin Hack’s Effect on the Price of
      TORN Should Be Excluded

       The rest of Hurder’s supplemental disclosure suffers from similar flaws. Hurder’s initial

disclosure asserted that TORN prices dropped slightly more than crypto prices in the two-week

period after public announcement of the Ronin hack. After the Government’s initial Daubert


                                                  8
     Case 1:23-cr-00430-KPF          Document 186        Filed 07/02/25      Page 12 of 19




motion pointed out the methodological deficiencies in the initial disclosure, the supplemental

disclosure attempts to address those flaws by opining that (a) “the Ronin Hack is a significant

event that is informative regarding the dynamics of the price of the TORN token,” and

(b) “regression analysis confirms that the public announcement of the Ronin Hack did not benefit

the TORN token price, but in fact appears to have harmed it” and “that alleged deposits of Ronin

Hack proceeds did not appear to explain variation in the price of TORN.” (Dkt. 176-2 at 6). But

even after this supplemental disclosure, the proposed testimony suffers from fatal methodological

flaws, and the disclosure continues to be so lacking in detail as to make evaluation impossible.

       While broader event studies can be admissible, courts have expressed caution about expert

testimony that purports to estimate the market effect of a single event based on a simple analysis

of market prices after the event. As the Second Circuit has explained, such analyses have

significant “methodological constraints,” and “it can be extremely difficult to isolate the price

impact of any one piece of information in the presence of confounding factors.” In re Petrobras

Sec., 862 F.3d 250, 279 (2d Cir. 2017). Thus, while such studies can be admissible if constructed

appropriately, they must be carefully scrutinized to evaluate whether they meet the Daubert

standard. See In re Freddie Mac Sec. Litig., 281 F.R.D. 174, 178 (S.D.N.Y. 2012) (detailing

methodological flaws in market-price “event study” and precluding it under Daubert).

       Here, Hurder has done none of the work necessary to demonstrate that the introduction of

such testimony is justified. She has not identified her criteria for deciding what events should be

considered to be “significant events” (Dkt. 176-2 at 6), and appears to have only looked at the

Ronin Hack without looking at the price impact of any other events or news regarding Tornado

Cash. Indeed, the only proffered basis for considering the Ronin Hack as an event of market-level

significance to the TORN market is that it was identified as a significant criminal exploit by the



                                                9
       Case 1:23-cr-00430-KPF         Document 186         Filed 07/02/25      Page 13 of 19




Government’s tracing expert. That is the sole extent of her “reasoning,” and she offers no

methodological basis whatsoever to support her decision to conduct a single-event study of market

prices for TORN tokens based on the Government’s tracing analysis. Qualifying her analysis as

expert testimony would artificially imbue it with far more probative weight in the eyes of the jury

than it is truly worth. See Nimely, 414 F.3d at 397.

        Moreover, Hurder fails to explain why she chose a two-week window from the

announcement of the Ronin Hack on March 29, 2022 to analyze price changes, as opposed to some

other time frame. See In re Freddie Mac, 281 F.R.D. at 178 (discussing need for expert to provide

“the parameters for the ‘event window,’ i.e., the period in which the news may affect the price”).

Simply put, Hurder’s supplemental disclosure fails to supply a sufficient basis to support her

opinion and is otherwise substantially flawed. The defense has now had multiple bites at the apple

to generate some explanation of this testimony that is grounded in reliable expertise, and has failed

to do so. It should be precluded.

III.    The Court Should Exclude Michael Carter’s Proposed Testimony in its Entirety.
        Michael Carter proposes to provide the following opinions: (1) the Tornado Cash service

was akin to “information sharing intermediaries, not financial institutions or money transmitters,”

and therefore not subject to the Bank Secrecy Act (“BSA”) or its implementing regulations;

(2) “[t]ransactions that possess privacy features either by intent or technical application should not

be viewed as inherently illicit;” and (3) it was “impossible for Tornado Cash to apply [Know Your

Customer (KYC)] procedures” and “Automated Blockchain Monitoring (ABM) tools and

processes.” (Dkt. 176-3 at 1, 2, 7, 10). The Court should exclude this proposed testimony as

untimely, because it would impermissibly introduce expert opinions on questions of law, and

because it is otherwise irrelevant, confusing, and would waste the jury’s time.




                                                 10
      Case 1:23-cr-00430-KPF           Document 186         Filed 07/02/25       Page 14 of 19




    D. The Court Should Exclude Carter’s Proposed Legal Opinions

        As set forth in the Government’s first Daubert submission, “a fundamental principle

underlying Rule 702 is that it is the court’s job to instruct the jury on the law, and the jury’s job to

apply the facts to that law.” (Dkt. 159 at 9 (citing cases, including In re Initial Pub. Offering Sec.

Litig., 174 F. Supp. 2d 61, 64 (S.D.N.Y. 2001) (“The rule prohibiting experts from providing their

legal opinions or conclusions is ‘so well-established that it is often deemed a basic premise or

assumption of evidence law—a kind of axiomatic principle.’”) (citations omitted))). Unbowed by

that axiomatic principle, Carter proposes to provide the following legal opinions: (1) the BSA and

its implementing regulations “do not apply” to the Tornado Cash service because it is an

“organization[] that merely transmit[s] information;” (2) “[s]oftware developers have no legal or

ethical duty to act in the interests of their users;” and (3) “[t]ransactions that [involve] privacy

features . . . should not be viewed as inherently illicit.” (Dkt. 176-3 at 1-2, 5, 10-11). Those naked

legal opinions—which undergird the entirety of Sections 1 and 4 of Carter’s supplemental

disclosure, as well as a portion of Section 2—are obviously out of bounds for expert testimony,

and the Court should exclude them for that reason. See United States v. Bilzerian, 926 F.2d 1285,

1294 (2d Cir. 1991) (“[T]estimony encompassing an ultimate legal conclusion based upon the facts

of the case is not admissible, and may not be made so simply because it is presented in terms of

industry practice.”).

        Moreover, even if legal opinion testimony were permissible (it is not), Carter’s proposed

testimony about whether the BSA and its implementing regulations apply to the Tornado Cash

service is irrelevant now that the Government has abandoned the failure-to-register object of Count

Two of the Superseding Indictment. Following that development, there is simply no way that an

opinion concerning the applicability of the BSA and its implementing regulations to the Tornado

Cash service can “help the trier of fact to understand the evidence or to determine a fact in issue.”

                                                  11
      Case 1:23-cr-00430-KPF          Document 186         Filed 07/02/25      Page 15 of 19




Fed. R. Evid. 702. Indeed, such testimony would be likely to confuse the jury and certainly would

waste its time and invite a side trial on BSA regulatory issues that are no longer relevant, such that

the Court should exclude it under Rule 403 as well.

   E. The Court Should Exclude Carter’s Proposed Testimony that it Was Impossible for
      the Tornado Cash Service to Implement KYC Procedures and ABM Tools and
      Processes

       Sections 2 and 3 of Carter’s disclosure propose testimony that the Tornado Cash service

was unable to implement KYC and ABM measures. (Dkt. 176-3 at 2-10). Specifically, Carter

argues that the Tornado Cash service “did not possess—nor was it practically able to possess—the

structure, staffing, or oversight by qualified persons to implement a . . . KYC system” or the

“structure, staffing, or oversight to be able to . . . operate an ABM system.” (Dkt. 176-3 at 6, 10).

The Court should exclude this testimony as irrelevant and unsupported by any relevant expertise.

       As an initial matter, the Government has not raised—and does not intend to raise at trial—

ABM measures. Accordingly, Section 3 of Carter’s disclosure attacks a straw man from start to

finish. There is simply no reason for Carter to testify that the Tornado Cash service could not have

implemented ABM measures when the Government does not intend to suggest otherwise. Any

such testimony may confuse the jury and certainly would waste its time. Accordingly, it should be

excluded.

       With respect to KYC measures, Carter’s testimony is largely irrelevant to the issues at trial

and is also non-responsive to the Government’s evidence. Carter’s entire discussion of “KYC”

plainly refers to the BSA and other regulations around KYC and AML policies. For instance,

Carter references the filing of suspicious activity reports (“SARs”), and data privacy rules for

financial institutions. (Dkt. 176-3 at 5-6). But the jury is not being asked to consider whether

Tornado Cash is a financial institution or whether it was obligated to comply with any such

regulations applicable to financial institutions, and this testimony will simply be a distraction.

                                                 12
     Case 1:23-cr-00430-KPF           Document 186        Filed 07/02/25      Page 16 of 19




       Nor are Carter’s opinions sufficiently reliable to support admission, as they are largely

conclusory and unsupported. When Carter refers to the proposed testimony of the Government’s

expert, Philip Werlau, he merely argues that “[a]ny attempt to simply try to bolt a third-party KYC

solution onto” the Tornado Cash service would have been impracticable “without appropriate

structure, evaluation, and operation.” (Dkt. 176-3 at 6-7). There are two problems with this

testimony. First, Werlau’s disclosure says nothing about third-party KYC solutions, which appear

to be the focus of Carter’s disclosure. (See, e.g., Dkt. 176-3 at 4, 6 (opining that KYC measures by

“third-party vendors” would not work and opining that the Tornado Cash service is not “practically

capable of making [the necessary] evaluations or implementing appropriate controls over a third-

party KYC tool”)). Second, even if certain “structure, evaluation, and operation” (whatever that

means) were required to implement particular KYC measures, Carter offers no explanation for

why the Tornado Cash service could not have implemented whatever “structure” Carter believes

to be necessary in order to install KYC measures, or how or why it lacked the staffing or oversight

he believes are necessary. Indeed, the only basis for Carter’s conclusion is his assertion that

Tornado Cash was simply “open-source software with no actual employees or owners.” (Dkt. 176-

3 at 6). But he offers no basis for that conclusion, which is simply a repetition of defense talking

points. Carter does not claim to have analyzed the Tornado Cash service’s actual operations, and

does not engage at all with Werlau’s analysis or the other evidence in the case of how the service

actually worked and was controlled. Carter does not point to anything on which he bases his (false)

assumption that Tornado Cash had “no actual employees or owners,” but that unsupported

assumption is the entire foundation for his assertions that it could not have adopted “third-party”

KYC. These opinions are unsupported by reasoning or analysis, and should therefore be excluded.




                                                13
      Case 1:23-cr-00430-KPF          Document 186        Filed 07/02/25      Page 17 of 19




       Finally, Carter is not qualified to opine that the “Tornado Cash structure, as an open-source

software protocol (essentially just code), and not a company or organization with a defined

structure, would likely preclude it from entering into the required contract with any KYC service

providers.” (Dkt. 176-3 at 4). Carter apparently has a background as a compliance advisor, but he

does not appear to have any training or experience in coding, reviewing code, or understanding

how cryptocurrency mixers like the Tornado Cash service actually function. Nor does he explain

how he came to the view—which is really the only apparent purpose of his testimony—that

Tornado Cash did not have a “defined structure.” Carter has no apparent expertise, and has not

identified any apparent basis, to opine about the “structure” of Tornado Cash—let alone that it is

“essentially just code”—or whether it had the ability to contract with third-party service providers.

(Dkt. 176-3 at 4, 10).

       In short, Carter’s proposed opinions regarding the feasibility of implementing KYC and

ABM measures is simply not targeted, as it claims to be, at the Government’s expert testimony or

otherwise germane to the jury’s task. His opinions are otherwise generalized and conclusory in

nature, and thus insufficiently reliable. For those reasons, and because Carter is not qualified to

offer these opinions, they should be excluded.

IV.    The Court Should Exclude Jeremy Sheridan’s Proposed Supplemental Testimony
       The Court should exclude Sheridan’s supplemental proposed testimony regarding the

distinction between what he calls “Founders’ TORN” and TORN obtained by “Early Adopter

Vouchers” as irrelevant, confusing, and wasteful of the jury’s time. (Dkt. 176-5 at 1-2).

       The distinction between Founders’ TORN and TORN obtained by Early Adopter Vouchers

is irrelevant. Both allocations of TORN were part of the initial formula that the defendant and his

confederates designed, and he benefitted from both as part of the same initial release of TORN.

The fact that some of the defendant’s subsequent profits are traceable to TORN he obtained as part

                                                 14
     Case 1:23-cr-00430-KPF           Document 186        Filed 07/02/25     Page 18 of 19




of the Founders’ allocation, and some are traceable to TORN he obtained as part of the Early

Adopter distribution that happened at the same time, is irrelevant; what matters is that the

defendant’s TORN, no matter the label he put on it when he issued it to himself, provided an

incentive for him to operate the Tornado Cash service as profitably as possible—including if that

meant conspiring to launder money, transmit money illegally, and evade sanctions—because

TORN was the vehicle through which he reaped millions of dollars from his efforts in furtherance

of the Tornado Cash service. Accordingly, the distinction between Founders’ TORN and Early

Adopter Voucher TORN has no bearing, let alone any probative value, on the issues in this case,

and the defendant has not shown otherwise. For these reasons, testimony regarding that irrelevant

distinction will likely confuse the jury and undoubtedly will waste the jury’s time. Accordingly,

any such testimony should be excluded.3




3
  The Sheridan disclosure also includes a cryptic comment that there “may be issues” with a code
script used by the Government’s expert Joel DeCapua, and that Special Agent DeCapua’s tracing
numbers do not exactly match the tracing attributions of a product released by Chainalysis. (Dkt.
176-5 at 11-12). After the Government asked for more information, the defense informed the
Government on June 25 that it would not present the Chainalysis data after all, and then, on July
2, 2025, that it was still in the process of preparing yet another “amended disclosure” for Sheridan
to respond to the analysis that the Government produced to the defense in February. The
Government will address the “amended disclosure” if and when it is produced.


                                                15
     Case 1:23-cr-00430-KPF         Document 186       Filed 07/02/25     Page 19 of 19




                                       CONCLUSION

       For the foregoing reasons, the Government respectfully submits that the Court should

exclude in its entirety the proposed supplemental testimony of (1) Matthew Green; (2) Stephanie

Hurder; (3) Michael Carter; and (4) Jeremy Sheridan.


                                                   Respectfully submitted,

                                                   JAY CLAYTON
                                                   United States Attorney for the
                                                   Southern District of New York



                                                   By: /s/ Thane Rehn
                                                      Ben Arad
                                                      Benjamin A. Gianforti
                                                      Thane Rehn
                                                      Assistant United States Attorneys

                                                       Kevin Mosley
                                                       Special Assistant United States Attorney
                                                       (212) 637-2354


Dated: July 2, 2025
       New York, New York




                                              16
